                       UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF
                         MICHIGAN SOUTHERN DIVISION

In Re: Joseph DuMouchelle Fine
& Estate Jewellers, L.L.C                               Case No. 19-56239-pjs
                                                        Hon. Phillip J. Shefferly
                                                        Chapter 11
        Debtor.


                              MOTION TO WITHDRAW
                                AS COUNSEL FOR
                  JOSEPH G. DUMOUCHELLE, AND MELINDA ADDUCCI
        Robert Bassel, Movant, states as follows:

        1.   The Michigan Rules of Professional Conduct, Rule 1.16 provide in

pertinent part as follows:

                  (a) Except as stated in paragraph (c), a lawyer shall not represent a
                      client or, where representation has commenced, shall withdraw
                      from the representation of a client if:

                     … (3) the lawyer is discharged.

                  (b) Except as stated in paragraph (c), after informing
                      the client that the lawyer cannot do so without
                      permission from the tribunal for the pending case, a
                      lawyer may withdraw from representing a client if
                      withdrawal can be accomplished without material
                      adverse effect on the interests of the client, or if:
                      ...(3) the client insists upon pursuing an objective
                      that the lawyer considers repugnant or imprudent;
                      (4) the client fails substantially to fulfill an
                      obligation to the lawyer regarding the lawyer's
                      services and has been given reasonable warning
                      that the lawyer will withdraw unless the obligation
                      is fulfilled;... or (6) other good cause for withdrawal
                      exists.


        2.   Joseph DuMouchelle and Melinda Adducci retained Movant to represent

them.

        3.   Movant is in the process of filing motions to withdraw from all


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representations of Mr. DuMouchelle and Ms. Adducci, in the following cases and

proceedings (the “Cases”):

           Case Name:   Joseph G. DuMouchelle and Melinda J. Adducci
           Case Number: 19-54531-pjs

           Case Name:   Harrity v. DuMouchelle et al
           Case Number: 20-04160-pjs

           Case Name:       Gelov v. DuMouchelle et al
           Case Number: 20-04172-pjs

           Case Name:   Joseph DuMouchelle Fine & Estate Jewellers, L.L.C
           Case Number: 19-56239-pjs


      4.     Due to, inter alia, being terminated and a breakdown in the

attorney-client relationship, Movant is no longer able to represent Mr. DuMouchelle

and Ms. Adducci. Good cause exists in this case to allow Movant to withdraw as

counsel for them.

      WHEREFORE, ​Movant moves this Court for entry of an Order allowing it to

withdraw as counsel for Joseph G. DuMouchelle, a/k/a Joe G. DuMouchelle, and

Melinda Adducci, a/k/a Lindy J. Adducci, and granting such other relief this Court

deems just and appropriate.

                                                Respectfully submitted,
                                                __/s/ Robert Bassel ____________
                                                ROBERT N. BASSEL (P48420)
                                                Attorneys for Movant
                                                P.O. Box T
                                                Clinton, MI 49236
DATED: 6/1/2020                                 (248) 677-1234
                                                bbassel@gmail.com​




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                                                    Hon. Phillip J. Shefferly
                                                    Chapter 11
      Debtor.


          ORDER OF WITHDRAWAL OF ROBERT BASSEL AS
       ATTORNEY OF RECORD FOR JOSEPH G. DUMOUCHELLE,
                    AND MELINDA ADDUCCI

      THIS MATTER ​came before the Court on the Motion of Robert Bassel to

withdraw as counsel for Joseph G. Dumouchelle, and Melinda Adducci. The Court

finds that sufficient cause exists for the relief requested and that there are no

unresolved objections. Accordingly,

      IT IS ORDERED ​that Robert Bassel. is withdrawn as the attorney of

record for Joseph G. DuMouchelle, a/k/a Joe G. DuMouchelle, and Melinda

Adducci, a/k/a Lindy J. Adducci.




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  NOTICE OF OPPORTUNITY TO RESPOND TO​ ​MOTION TO WITHDRAW

      PLEASE TAKE NOTICE that Robert Bassel has filed a motion to withdraw as
counsel for Joseph DuMouchelle and Melinda Adducci for the reasons set forth in his
motion.

       YOUR RIGHTS MAY BE AFFECTED​. You should read these papers
carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.)

      The Motion is available for review at the office of the Clerk of the U.S.
Bankruptcy Court for the Eastern District of Michigan, located at 211 W. Fort Street,
17th Floor, Detroit, Michigan, or may be obtained by sending a ​written ​request to
undersigned counsel at the address below.

If you do not want the Court to grant the relief sought in the motion, or if you want
the Court to consider your views on the motion, within 14 days unless shortened by
the Court, you or your attorney must:

1. Communicate with the Court regarding your response or an answer explaining
your position, at: United States Bankruptcy Court, 211 W. Fort Street, 17th Floor,
Detroit, Michigan You must also communicate your response to undersigned counsel
at the address stated below.

If you or your attorney do not take these steps, the Court may decide that
you do not oppose the relief sought in the motion and may enter an order
granting the relief requested in the motion.

Respectfully submitted,
/s/ Robert Bassel
Robert N. Bassel (P48420)
Attorneys for Movant
P.O. Box T
Clinton, MI 49236
248-677-1234
bbassel@gmail.com
Dated: 6.2.2020

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         Debtor.



                              PROOF OF SERVICE
The undersigned served, or caused to be served, copies of MOTION TO WITHDRAW,
Notice of Time to Respond and Proof of Service upon the following by U.S. Mail or via
the ECF system which is designed to serve notice upon the following, where
applicable:


matrix

Respectfully submitted,

/s/ Robert Bassel
Robert N. Bassel (P48420)
Attorneys for Movant
P.O. Box T
Clinton, MI 49236
248-677-1234
bbassel@gmail.com

Dated: 6.2.2020




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